        Case 1-18-40515-nhl           Doc 39       Filed 05/07/18    Entered 05/07/18 13:02:06



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re:                                                              Chapter 11

90 West Street LLC,                                                 Case No. 18-40515-NHL

                                             Debtor.
--------------------------------------------------------x

                                     DECLARATION OF SERVICE

                 I, J. Ted Donovan, declare under the penalties of perjury pursuant to 28 U.S.C. §

1746:

                 On May 4, 2018, I caused to be served the Order Shortening time for the Hearing

on Debtor’s Motion to Approve Bidding Procedures, together with the Motion on creditors and

parties in interest by Priority Overnight Federal Express delivery on those persons set forth in

Schedule “A”, and by Overnight Mail on those person set forth in Schedule “B”, all marked for

delivery on May 7, 2018 before 10:30 a.m.

                 I also served those parties set forth in Schedule “C” via E-Mail.

Dated: New York, NY
       May 7, 2018

                                                            /s/ J. Ted Donovan
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Schedule “A”

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KCP Advisory Group
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Alexandria, VA 22314-3229

Oxford Finance LLC
Attn: John Toufanian, Esq
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Alexandria, VA 22314-3229

Treasurer/Tax Collector
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Woodbriar Health Center
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Wilmington, MA 01887-3039

Ziggy Brach
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Massachusetts Department of Health
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New York, NY 10014

Schedule “B”

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

Massachusetts Department of Revenue
PO Box 9564
Boston, MA 02114-9564

Schedule “C”
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